      Case 17-40247-mxm7 Doc 19 Filed 05/09/19            Entered 05/09/19 14:19:46       Page 1 of 1




The following constitutes the ruling of the court and has the force and effect therein described.


Signed May 9, 2019
                                            ____________________________
                                            United States Bankruptcy Judge
_____________________________________________________________________



                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

      IN RE:                                          §
                                                      §
      Hhr Wells, Inc.                                 §                  CASE NO. 17-40247-MXM-7
                                                      §
                                                      §
               DEBTOR(S)                              §

                           ORDER APPROVING TRUSTEE'S APPLICATION
                              FOR COMPENSATION AND EXPENSES

             The court has considered the Application for Trustee's Compensation and Expenses
      ("Application") in which Marilyn D. Garner, the chapter 7 trustee for the estate requests
      compensation in the amount of $1,284.16 and reimbursement of expenses in the amount of
      $711.60. The Court having determined that the request for compensation and expenses should
      be granted, it is

               ORDERED that Application is granted; it is further

             ORDERED that compensation in the amount of $1,284.16 and reimbursement of
      expenses in the amount of $711.60 is allowed; and it is further

              ORDERED that in the event additional interest income accrues on estate funds prior to
      the distribution of funds by the chapter 7 trustee, the chapter 7 trustee shall be entitled to
      compensation on the distribution of the additional interest amounts in accordance with 11 U.S.C.
      § 326(a), without further Order of the Court.

                                             ###End of Order###


      ORDER APPROVING TRUSTEE'S APPLICATION FOR COMPENSATION AND EXPENSES
